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                       Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                              )
IN RE: AQUEOUS FILM-FORMING                   )       MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                      )
LITIGATION                                    )
                                              )
                                              )

                            PLAINTIFF PROFILE FORM (“PPF”)

In completing this Plaintiff Profile Form, you are under oath, subject to the penalties of perjury,
and must provide information that is true and correct to the best of your knowledge. If you are
filling this form out on behalf of someone who has died, is incapacitated, or is a minor, then the
questions relate to the deceased person, incapacitated person, or minor asserting claims in the
lawsuit. “You” or “Your” shall refer to either the plaintiff who is seeking recovery for alleged
personal injury/bodily injury or, if applicable, the deceased person, incapacitated person, or minor
asserting claims in the lawsuit. Where information is requested, you are required to provide the
information available to you, including information available to you in a representative capacity if
you are completing this Plaintiff Profile Form for another (e.g., for an incapacitated adult or
minor). If you cannot recall all the details requested, please provide as much information as you
can. You must complete the Plaintiff Profile Form in accordance with the requirements and
guidelines set forth in the applicable Case Management Order(s).

    ALL ASPECTS OF THIS PLAINTIFF PROFILE FORM ARE DESIGNATED AS
        CONFIDENTIAL AND COVERED BY THE PROTECTIVE ORDER.

 COMPLETION OF THIS PLAINTIFF PROFILE FORM IS IN ADDITION TO EACH
PLAINTIFF’S OBLIGATION TO SUBMIT COMPLETED PLAINTIFF FACT SHEET(S)
 PURSUANT TO CASE MANAGEMENT ORDER NO. 5. ALL OBLIGATIONS UNDER
                      CMO 5 REMAIN IN EFFECT

   1. Plaintiff’s Name: ________________________________________________________

   2. Name of Person completing this Form (if different than Plaintiff):____________________

   3. Plaintiff’s DOB: __________________________________________________________

   4. Plaintiff Law Firm: ________________________________________________________




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      5. Caption of Case1: _________________________________________________________

      6. Docket Number of Case1: ___________________________________________________

      7. Are you completing this Profile Form in a representative capacity (on behalf of the estate
         of a deceased person, an incapacitated adult, or a minor)? ☐ Yes ☐ No

               a. If Yes, State your name: ________________________________
                          and Date of Birth:__________/__________/__________

               b. Are you acting on behalf of a deceased individual? ☐ Yes ☐ No

                             If so, state their date of death: ________/_________/________

                             State their cause of death (if you know): ____________________________

               c. Are you answering on behalf of a person under the age of 18? ☐ Yes ☐ No

                             If so, state their date of birth: ________/_________/________

               d. If you answered No to b and c above, state the reason you are acting on behalf of
                  the plaintiff:
                  __________________________________________________________________

               e. State your relationship to the plaintiff: ___________________________________

I.         Exposure:

          A.        Do you allege exposure to AFFF through drinking water?              ☐ Yes ☐ No
                    If Yes, please complete questions A.1-4 below:

                    1.        Identify the address(es) at which you claim exposure to AFFF-
                              contaminated water, the water provider or private well which services that
                              address, and the years in which you allege exposure began and ended:

     Street Address of Location   City    State   Zip Code   Name of Water Provider     Year Start   Year End
     of Contaminated Water                                                              (Approx)     (Approx)




1
 Case caption and docket information must be provided for your individual case in this MDL. PPFs
providing case information from when the case was pending before any other court prior to transfer
or identifying the master MDL case caption and/or docket number will be deemed deficient.

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                    Provide all information above to the best of your ability. If you do not recall
                    the details of any of the information above, such as precise addresses, the
                    name of your water provider or the years in which you resided at a
                    residence, provide as much detail as you can or your best estimate.

           2.       Produce records or other information in your possession that documents that
                    you worked, lived, attended school, or otherwise were exposed to water at
                    each of the address(es) identified above.

           3.       Produce documents, testing data and/or other information in your
                    possession that demonstrates that the water district(s) or private well that
                    you identified above is or was at any time contaminated with PFOA and/or
                    PFOS. You may use publicly-available information to respond to this
                    question provided you or your counsel produce a copy of any such
                    information on which you rely or identify, by bates number, a previously
                    produced document.

           4.       Identify the locations(s) at which you believe AFFF was used in a manner
                    which resulted in the exposure you allege occurred at the addresses listed in
                    response to question I.A.1 above. Identify all AFFF products which you
                    believe were used at such location, if known. Provide as much detail as
                    possible:

      Location(s) of AFFF Use                       Product                       Manufacturer




    If you have any additional information in response to Questions 1-4 above that you
    have not already provided, including supporting documents, please provide that
    information below and/or produce such supporting documents.

    ________________________________________________________________________
    ________________________________________________________________________
    ________________________________________________________________________
    ________________________________________________________________________




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      B.      Do you allege direct exposure to AFFF?                                   ☐ Yes ☐ No
              If Yes, please complete questions B.1-4 below:

              1.         Identify the location(s) where you were exposed to AFFF directly:

Street   Address    of   City    State   Zip    Name of Location (i.e.           Type of         Year Start     Year End
Location                                 Code   Name of Fire Department,         Location        (Approx)       (Approx)
                                                Airport, Fire Training
                                                Facility, Military Site, etc.)




              2.         In what way(s) did this alleged direct exposure occur (you may check all
                         that apply):
                                   a. Sprayed foam:                         ☐ Yes ☐ No
                                   b. Handling of foam containers:          ☐ Yes ☐ No
                                   c. Accidental release of foam:           ☐ Yes ☐ No
                                   d. Foam discharge from fixed system: ☐ Yes ☐ No
                                   e. Spill of AFFF concentrate:            ☐ Yes ☐ No
                                   f. Cleaning AFFF-related equipment: ☐ Yes ☐ No
                                   g. Other (describe):                     ☐ Yes ☐ No
                                    ___________________________________________________
                                    ___________________________________________________

                                    ___________________________________________________

              3.         Identify all AFFF products to which you were directly exposed, if known.
                         If you do not recall exact answers to any of the questions below, provide as
                         much detail as possible:

     Product Name                Manufacturer                 Location(s) of            Duration/Frequency of
                                                               Exposure(s)                   Exposure(s)




              4.         Produce documents or other information in your possession that evidence
                         the alleged direct exposure.




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      C.    Do you allege exposure to PFAS containing Turnout Gear?       ☐ Yes ☐ No
            If Yes, you are required to complete the separate Turnout Gear Specific Fact
            Sheet pursuant to CMO 5F.

II.   Claimed Personal Injuries

      A.    Please indicate alleged injuries claimed in your lawsuit:

            Kidney Cancer:                                 ☐ Yes ☐ No
            Testicular Cancer:                             ☐ Yes ☐ No
            Thyroid Disease:                               ☐ Yes ☐ No
            Ulcerative Colitis:                            ☐ Yes ☐ No
            Pregnancy-Induced Hypertension:                ☐ Yes ☐ No
            High Cholesterol:                              ☐ Yes ☐ No
            Liver Cancer:                                  ☐ Yes ☐ No
            Thyroid Cancer:                                ☐ Yes ☐ No
            Other (Unlisted) Injury* (1 per line):         ☐ Yes ☐ No
                               1) _______________________
                               2) _______________________
                               3) _______________________
                               4) _______________________


            * Only check or list the primary injury or injuries you are alleging and directly
            claiming in this action. Do not include any injuries which exist solely as damages
            or as a direct result of one of the listed injuries above. For example, a plaintiff
            alleging kidney cancer should not separately list treatments for kidney cancer (such
            as a nephrectomy to remove the kidney or chemotherapy, etc.), secondary injuries
            which occurred as a direct result of kidney cancer or its treatment (such as
            metastasis of the cancer to other organs or injuries/sequela from any chemotherapy,
            etc.), or damages caused by kidney cancer (such as pain and suffering, emotional
            distress, fatigue, inability to sleep, or other impacts from their injury). Damages
            and/or direct result secondary injury allegations resulting from the injury or injuries
            checked above are preserved for future discovery and trial and are beyond what is
            being sought in this PPF at this time.

            **Please refer to Second Amended Case Management Order No. 28 for the
            requirements specific to unlisted injuries.



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    B.     Please indicate the damages you sustained from the personal injury(ies) identified
           above. Provide your best estimate of damages incurred as of the date you complete
           this PPF. If you are unable to provide any estimate for your damages list Unsure or
           To Be Determined. No amount need be entered for pain and suffering:

            1. Pain and suffering                  ☐ Yes ☐ No
            2. Out-of-pocket medical expenses      ☐ Yes ☐ No            $_______________
            3. Lost wages/business                 ☐ Yes ☐ No            $_______________
            4. Other (describe below)              ☐ Yes ☐ No            $_______________

           ________________________________________________________________
           ________________________________________________________________
           ________________________________________________________________
           ________________________________________________________________
           ________________________________________________________________
           ________________________________________________________________
           ________________________________________________________________

    C.     Produce any and all records in your possession that evidence the amount of
           damages, if any, identified in response to items II.B.2-4 above, such as medical
           bills, receipts, invoices, employment records, or other similar documents.

    D.     Please identify all relevant medical providers who diagnosed these injury(ies) and
           rendered care and treatment for these injury(ies) to the extent they were not
           previously disclosed in your plaintiff fact sheet:

    Healthcare Provider Name      Address               Approx. Dates Reason for Treatment
                                                        of Treatment




    E.     Produce medical records in your possession, including all records available to you
           upon request to your healthcare provider(s): (1) that evidence the diagnosis of your
           injury (if available) and/or (2) that evidence the injuries claimed above.




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                               VERIFICATION OF PLAINTIFF

I declare under penalty of perjury subject to all applicable laws, that I have carefully reviewed the
final copy of this Plaintiff Profile Form and verified that all of the information provided is true and
correct to the best of my knowledge, information and belief.



                                                       _______________________________
                                                       Signature of Plaintiff2

                                                       _______________________________
                                                       Print Name


                                                       Date




2
  For purposes of this verification, either a handwritten signature or verified electronic signature
is required. A verified electronic signature can include a signature obtained through a reputable
third-party vendor, such as DocuSign, or through a verification of identity obtained through the
electronic portal used to enter the information requested in this form.

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